     Case: 1:21-cv-00291 Document #: 4 Filed: 04/02/21 Page 1 of 7 PageID #:14




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

PATRICK ATKINSON,                            )
                                             )
             Plaintiff,                      )
                                             )
v.                                           )
                                             )
JEFFREY A. ROSEN, in his official capacity )
as Acting Attorney General of the United     )           Case No. 1:21 CV 291
States, and                                  )
REGINA LOMBARDO, in her official             )
capacity as Deputy Director, Head of Agency, )
of the Bureau of Alcohol, Tobacco, Firearms )
and Explosives,                              )
                                             )
             Defendants.                     )

                              INITIAL STATUS REPORT
       Plaintiff, PATRICK ATKINSON, by and through LAW FIRM OF DAVID G.

SIGALE, P.C., his attorney, and complaining of the Defendants, JEFFREY A.

ROSEN, in his official capacity as Acting Attorney General of the United States of

America1, and REGINA LOMBARDO, in her official capacity as Deputy Director,

Head of Agency, of the Bureau of Alcohol, Tobacco, Firearms and Explosives

(“BATFE”), states and alleges as follows:

       1.     Type of Initial Status Report (e.g., Joint or Individual). Plaintiff is

filing an individual status report, as the Defendants have not yet filed an

Appearance or otherwise contacted Plaintiff’s counsel.



1Since the filing of this suit, Merrick Garland has become the United States Attorney
General, and should be substituted automatically for Jeffrey A. Rosen as an official capacity
Defendant in this matter.
      Case: 1:21-cv-00291 Document #: 4 Filed: 04/02/21 Page 2 of 7 PageID #:15




       2.     Service of Process. Plaintiff has served both Defendants per F.R. Civ.

P. 4(i)(2).



       3.     Nature of the Case.

              a.    Counsel of Record
                    David G. Sigale (Atty. ID# 6238103)
                    LAW FIRM OF DAVID G. SIGALE, P.C.
                    430 West Roosevelt Road
                    Wheaton, IL 60187
                    630.452.4547
                    dsigale@sigalelaw.com



              b.    Basis for federal jurisdiction - Federal Question/U.S. Const.

              Amend. II; 28 U.S.C. §§ 1331, 1343, 1346, 2201, and 2202.



              c.    Claims asserted in the complaint and any counterclaims or

              affirmative defenses - Twenty-two years ago, Plaintiff was convicted of

              a non-violent financial felony, still his only violation of the law. He

              paid a fine, received two years of probation, which was ended a year

              early, with six months of home confinement. Due to the federal

              prohibition of felons ever legally possessing firearms in 18 U.S.C. §

              922(g)(1), Plaintiff has been permanently and unconstitutionally

              deprived of his right to armed self-defense under the Second

              Amendment.




                                            2
Case: 1:21-cv-00291 Document #: 4 Filed: 04/02/21 Page 3 of 7 PageID #:16




                This action seeks equitable, declaratory, and injunctive relief

       challenging on an as-applied basis the application of 18 U.S.C. §

       922(g)(1) to Plaintiff, who wishes to avail himself of the Second

       Amendment right as he is not a danger to himself, others, or the

       public.



       d.       Major legal and factual issues anticipated in the case - Whether

       18 U.S.C. § 922(g)(1), which permanently prohibits nearly all felons—

       even those convicted of nonviolent crimes—from possessing firearms

       for self-defense, violates the Second Amendment, as applied to an

       individual convicted of playing a small part in a corporate recruiting

       scam twenty-two years ago.



       e.       Type and calculation of damages and any other relief sought by

       Plaintiff -

            •   A declaration that 18 U.S.C. § 922(g)(1) cannot be applied

                against Patrick Atkinson on account of his 1998 felony

                conviction under 26 U.S.C. § 7206(1);

            •   A declaration that application of 18 U.S.C. § 922(g)(1) against

                Patrick Atkinson, on account of his 1998 felony conviction under

                26 U.S.C. § 7206(1), violates the Second Amendment to the

                United States Constitution;

                                      3
Case: 1:21-cv-00291 Document #: 4 Filed: 04/02/21 Page 4 of 7 PageID #:17




            •   An order permanently enjoining Defendants, their officers,

                agents, servants, employees, and all persons in active concert or

                participation with them who receive actual notice of the

                injunction, from enforcing 18 U.S.C. § 922(g)(1) against Patrick

                Atkinson on the basis of his 1998 felony conviction under 26

                U.S.C. § 7206(1);

            •   Costs of suit;

            •   Attorney’s Fees and Costs pursuant to 28 U.S.C. § 2412,



 4.    Pending Motions and Case Plan

       a.       Identify all pending motions – None.



       b.       Proposal for Discovery and Case Management Plan:

                (1)    The general type of discovery needed, including any

                potential electronic discovery or bifurcated discovery – Plaintiff

                anticipates the legal issue of Second Amendment rights

                restoration will be initially addressed, per Seventh Circuit

                precedent on this issue. Following the resolution of that issue

                such that subsequent proceedings commence in this Court,

                Plaintiff anticipates disclosing witnesses as to Plaintiff’s

                character and rehabilitation such that this Court should restore

                his Second Amendment rights.

                                       4
Case: 1:21-cv-00291 Document #: 4 Filed: 04/02/21 Page 5 of 7 PageID #:18




              (2)   Date for Rule 26(a)(1) disclosures – Twenty-eight days

              following Defendants answering the Plaintiff’s Complaint and/or

              the resolution of the issue of Second Amendment rights

              restoration as an available remedy.



              (3)   Date to issue written discovery – Twenty-eight days

              following the Rule 26(a)(1) disclosures.



              (4)   The need for, and content of, any proposed confidentiality

              orders, in accordance with the Local Rules for the Northern

              District of Illinois - Unknown at this time.



              (5)   The need for, and content of, any Health Insurance

              Portability and Accountability Act (HIPAA) waivers – Unknown

              at this time.



              (6)   Fact discovery completion date – Six months from the

              beginning of discovery.



              (7)   Whether there will be expert discovery, and, if so, an

              expert discovery completion date (including proposed deadlines



                                     5
     Case: 1:21-cv-00291 Document #: 4 Filed: 04/02/21 Page 6 of 7 PageID #:19




                   for expert disclosures and depositions) – It is not anticipated

                   that expert discovery will occur in this case.



                   (8)    A proposed date for the filing of dispositive motions (if

                   any) – thirty days following the close of discovery.



                   (9)    Tentative trial date – Unknown at this time.



            c.     Indicate whether a jury trial is requested and the probable

            length of trial – A jury is not requested. Plaintiff anticipates a trial in

            this matter would last two days.



      5.    Consent to Proceed Before a Magistrate Judge – As Defendants have

not answered the Complaint or otherwise communicated with Plaintiff’s counsel, no

discussions regarding a Magistrate Judge have taken place.



      6.    Status of Settlement Discussions

            a.     Status of settlement discussions - As Defendants have not

            answered the Complaint or otherwise communicated with Plaintiff’s

            counsel, no discussions regarding settlement have taken place.




                                          6
     Case: 1:21-cv-00291 Document #: 4 Filed: 04/02/21 Page 7 of 7 PageID #:20




            b.     Whether the parties request a settlement conference – Not at

            this time.




Dated: April 2, 2021                        /s/ David G. Sigale
                                            Attorney for Plaintiff




David G. Sigale (Atty. ID# 6238103)
LAW FIRM OF DAVID G. SIGALE, P.C.
430 West Roosevelt Road
Wheaton, IL 60187
630.452.4547
dsigale@sigalelaw.com




                                        7
